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       -
                     Case 4:22-mj-01572 Document 1-1 Filed on 07/12/22 in TXSD Page 1 of 18
                                                                DEPARTMENT OF VETERANS AFFAIRS POLICE
                                                                580 MICHAEL E. DEBAKEY VAMC HOUSTON VISN 16
                                                                    -                                      -                -


                                                               2002 HOLCOMBE BLVD.
                                                               HOUSTON, TX, 7703O-4298



Incident Report
Reported by:      GARRETT, JOHN C

Incident Types Label      FEDERAL: CFR:38 CFR 1.218(B): [900]- (11)                        Incident Disposition                 CLOSED
                          DISORDERLY CONDUCT
Offender                  SMITH, JOHNATAN WESLEY (SUSPECT)

Report Disposition                                  Method of Reporting
CLOSED                                              VA EMPLOYEE
Report Recorder                                     Manager/Supervisor On Duty                             Manager/Supervisor Notified
GARRETT, JOHN C                                                                                            YES
Incident Occurred Date                              Incident Occurred End Date                             Incident Discovered / Called In
10/02/2020 at 0935                                  10/02/2020 at 1000                                         10/02/2020 at 0935
Location                                                                        Specific Location
MICHAEL E. DEBAKEY VA MEDICAL CENTER HOUSTON:        -


CBOCS/OPCS : CONROE CBOC
Report Synopsis/Overview
A walk-in patient became loud and argumentative about his medical appointment which he missed the day before. Staff encourage him
to relax and asked if he would stay to complete his appointment and lab. Patient refused medical treatment and departed without
further incident.

                                           Contact # 1        (VA EMPLOYEE)
Full Name
PAM PATTERSON

Drivers License                                    Drivers LicenseState          Email Address
13832548                                           TX
Age                      Date of Birth             Gender                        Race
                                                   FEMALE                        WHITE
Department                                                                       Title
MENTAL HEALTH

                                                                          Addresses
Street Number         Street Direction     Street Name                                                                 Street Type             Apt./Suite
9199                                       I'EGCY                                                                      DRIVE
City                                       State                        Zip            -         Country                                       Address Type
MONTGOMERY                                 TX                           77316

                                           Contact # 2        (VA EMPLOYEE)
Full Name
KAREN KAVE CARDIEL

Drivers License                                    Drivers LicenseState          Email Address


                                                   Prepared By:                                                                   Submitted Date
                                     GARRETT, JOHN C(JOHN.GARRETT6/;VA.GOV)                                                          10102!2020 1426

                               Signature                                                              Reviewed By/Date




                                                               Page 1 of
    1' U111LJI
                 Case 4:22-mj-01572 Document 1-1 Filed on 07/12/22 in
                             OUhJU/U.
                                                                   I TXSD Page 2 of 18
VAPD Officer informed by COPC Staff of a loud and agitated patient in the in room 3A-105. Officer Garrett
                                                                                                          responded.

On 02 Oct 20, Veteran Affairs (VA) Police Officer J. Garrett, assigned to the VA Conroe Outpatient Clinic
                                                                                                          (COPC), was alerted by COPC
staff of a loud and agitated patient in 3A-105.

On 02 Oct 20, I was notified by License Vocational Nurse Pam Patterson (E-2123) and RN Kim Cardael
                                                                                                              (E-0671) about a patient who was
in a manic state, argumentative and loud. When VA Police tried to ask the patient what his name was, he
                                                                                                                stated that I did not have
jurisdiction over him and the clinic, and I was a public servant. I tried to identify myself as VA Police Officer
                                                                                                                  when he interrupted me again
and talked over me. The patient also stated he wanted the supervisor of the clinic to come to the room
                                                                                                             and he would not leave until he
saw a doctor.

To de-escalate the situation, I backed away from the doorway to give him time to calm down from his manic
                                                                                                              state and stayed in the
hallway outside the door. The nurse manager Pedro Leon (E9618), arrived to talk with the patient and
                                                                                                         encouraged him to relax and listen
to the recommendations of his nurses. The patient was later identified by RN Cardel as Johnathan Smith
                                                                                                           (P-9204). The Nurse Manager
requested laboratory work be completed at that moment and another appointment be scheduled for a future
                                                                                                              date. Mr. Smith was not
escorted to the lab on the 4th floor because he decided to leave the clinic. I observed Smith get on his Can-Am
                                                                                                                  (three wheeled
motorcycle) and drive out of the parking lot. I did not issue a USDCVN due to his emotional manic state.

I interviewed RN Karen Cardiel (E-0671) who stated Smith presented to MH clinic as a walk-in. Cardiel stated
                                                                                                               Smith said someone told
him to walk in to see a MH provider for medications. Smith was then informed he was being seen by
                                                                                                      Mental Health Nurse to schedule
appointment with a MH provider. Smith became irate, and loud stating he had been trying to receive
                                                                                                     medications for two weeks. Smith
was hyperverbal, manic, and not allowing her to finish speaking. Smith has not been seen for mental
                                                                                                      health before. Smith was informed
the clinic was trying to contact him to complete his assessment which needed before being prescribed
                                                                                                       medications. Smith became
argumentative, and stated he was not going to leave until he saw a supervisor of the clinic. Supervisors and
                                                                                                             Police were contacted for
continued support. Dr. Nemirovskiy notified of a telehealth appointment with her at 3 p for Veteran Smith
                                                                                                           and he was encouraged to
complete his labs ordered yesterday from his POP.

Smith declined medical treatment and left the clinic. No further police action taken. Request case be
                                                                                                      closed to file.




                                              Prepared By:                                                          Submitted Date
                                 GARRETT, JOHN C(J0FIN.GARRETT6VA.G0V)
                                                                                                                        1002/2020 1426

                           Signature                                                          Reviewed By/Date



                                                          Page 3 of 3
Case Number              Case 4:22-mj-01572
                                580201197   Document 1-1 Filed on 07/12/22 in TXSD Page 3 of 18
                                                                       DEPARTMENT OF VETERANS AFFAIRS POLICE
                                                                       580 - MICHAEL E. DEBAKEY VAMC - HOUSTON - VISN 16
                                                                       2002 HOLCOMBE BLVD.
                                                                       HOUSTON, TX, 77030-4298



    Incident Report
    Reported by:   CARROLL, SCOTT T

Incident Types Label          FEDERAL: CFR:38 CFR 1.218(B): [90C] - (11)                       Incident Disposition              CLOSED
                              DISORDERLY CONDUCT (MISDEMEANOR)
    Offender                  SMITH, JONATHAN WESLEY (SUSPECT)

    Report Disposition                                     Method of Reporting
    CLOSED                                                 OFFICER OBSERVED
    Report Recorder                                        Manager/Supervisor On Duty                              Manager/Supervisor Notified
    CARROLL, SCOTT T                                       SMTIH, NGENEO A                                         YES
    Incident Occurred Date                                 Incident Occurred End Date                              Incident Discovered / Called In
    12/08/2020 at 1325                                     12/08/2020 at 1410                                      12/08/2020 at 1325
    Location                                                                        Specific Location
    MICHAEL E. DEBAKEY VA MEDICAL CENTER HOUSTON:           -                       MAIN LOBBY
    CBOCS/OPCS : CONROE CBOC
    Report Synopsis/Overview
    VA Police escorted a Veteran who is known to be disruptive and disorderly to and from the screening area of the COPC. Medical Staff
    elected to negate security measures thus limiting law enforcement action. Veteran then departed the COPC without further incident
    but was issued a citation for disorderly conduct. Recommend review by the IRAC committee.

                                                    Contact # 1         (SUSPECT)

Full Name
JONATHAN WESLEY SMITH
Age                          Date of Birth               Gender                         Race
39                           01/29/1981                  MALE                           BLACK
Height                       Weight                      hair Color                     Eye Color
6'03"                        200                         BROWN                          BROWN
Approx. Age                  Demeanor        '           Build                          Clothing
35-44                                                    MEDIUM BUILD

                                                                                Addresses
Street Number             Street Direction       Street Name                                                               Street Type             Apt/Suite
5934                                             BEESTON HALL                                                              COURT
City                                             State                      Zip                      Country                                      Address Type
SPRING                                           TX                         77388


(N/A)    8325606552

                                                   Contact # 2          (WITNESS)
Full Name
CHRISTIE LOOP


                                                         Prepared By:                                                                Submitted Date
                                        CARROLL, SCOTT T(SCOTT.CARROLL@VA.GOV)                                                           1125.2020 1553

                                   Signature                                                                    Reviewed By/Date


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                                                                      Page 1 of                         -
Case Number        Case 4:22-mj-01572
                           580201197  Document 1-1 Filed on 07/12/22 Iin TXSD Page 4 of 18
Age                     Date of Birth              Gender                  Race
                                                   FEMALE                  WHITE
Department                                                                 Title
MEDICAL SERVICE                                                            REGISTERED NURSE

                                                                     Addresses
Street Number        Street Direction     Street Name                                                     Street Type              Apt/Suite
690                  SOUTH                336 WEST                                                        LOOP
City                                      State                    Zip                   Country                                   Address Type
CONROE                                    TX                       77304


(N/A) 9365224000



Full Name
I'EDRO LEON
Age                     Date of Birth             Gender                   Race
                                                  MALE                     HISPANIC

                                                                     Addresses
Street Number        Street Direction     Street Name                                                     Street Type             Apt/Suite
690                  SOUTH                LOOP 336 W                                                      LOOP
City                                      State                   Zip                    Country                                  Address Type
CONROE                                    TX                      77301

                           Phones
(N/A) 9365254000

 Narrative text
On 8 Dec 2020, I, Veteran Affairs (VA) Police Department (VAPD) Officer Scott Carroll, assigned to the VA Conroe Out-patient Clinic
(COPC) in Conroe, Texas; investigated a disorderly conduct incident at the COPC. The results of that investigation and events preceding
said investigation were as follows.

In events preceding this investigation, I had the occasion to investigate and interview patient Jonathan Smith (P-9240) as documented
under Incident Report (IR) 580201166 dated 25 Nov 2020. That knowledge was furthered by the investigation and criminal charges for
disorderly conduct of Smith as documented under IR 580201192 dated 7 Dec 2020 as written by VAR Officer Jason Armstrong. Officer
Armstrong had briefed me of the 7 Dec 2020 incident later that day. That knowledge was furthered by the investigation of disorderly
conduct of Smith as documented under IR 580200963 dated 2 Oct 2020 as written by VAPD Officer John Garrett and as discovered by
my search of Smith in VAP computer system. Collectively, my knowledge of Smith included numerous examples of rude, vulgar, loud
language, disorderly conduct, disruptive behavior and fear amongst COPC staff of Smith's behavior and escalation of violence.

It was with above knowledge, I had discussed security concerns of Smith's upcoming scheduled and possible non-scheduled visits at the
clinic with Administrative Officer (AO) Murray on 7 Dec 2020 (the day preceding this investigation). That discussion led to a plan to provide
non-invasive medical care to Smith in a secluded/private area of the building lobby. That lobby is the site of the COVID-19 screening which
included a temperature check and questionnaire of medical symptoms of patients seeking admission to the COPC. The procedure
scheduled for Smith was that of a blood pressure check for 8 Dec 2020 at 1:00 p.m. I then planned on meeting Smith at that time/place to
explain the above procedure and ensure the safety of COPC staff.

On 8 Dec 2020 at 1:25 p.m., I observed Smith enter the COPC lobby where he conducted COVID-19 screening as noted above. Following
that screening, I, attired in police uniform and recognized by Smith, introduced myself and attempted to explain the scheduled blood

                                                  Prepared By:                                                     Submitted Date
                                   CARROLL, SCOTT T(SCOTTCARROLL@VAGOV)                                                 1 225 2020 1553

                              Signature                                                      Reviewed By/Date


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                          .'OULW  1  Document 1-1 Filed on 07/12/22 in TXSD Page 5 of 18
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pressure test to be conducted at the building lobby. Smith immediately stated to effect, "I don't have to talk to you. I have an
appointment". I repeated my attempts to explain and provide the scheduled blood pressure test as planned above. Smith talked over
                                                                                                                                          my
repeated attempts at explanation, offers of assistance by stating to effect, "Your not my Doctor. You can't talk to me. I don't have to
                                                                                                                                        listen
to you" at which time Smith's voice became louder and louder.

Smith then used his cell phone to video record me while making audio statements of unfair treatment by myself and his denial of
                                                                                                                                    medical
care. Smith then stated he would call the Conroe Police Department (CPD). Although unclear who (if anybody) Smith spoke to following
that statement, Smith proceeded to talk into his phone describing his denial of medical care (offered repeatedly), his legal rights and
distorted history of his previous encounter and charge of disorderly conduct that had occurred the previous day.

Concurrent with above actions, Smith made repeated complaints of chest pain. On each complaint of chest pain, I offered to call 911.
Each offer of assistance was countered by Smith stating "No" or deflective comments to effect, "I want my doctor". During said
complaints, Smith engaged several visitors entering and leaving the building lobby with statements to effect, "I need help", "The VA wont
see me", "I need a Doctor" the VAPID are illegally detaining me. Those statements to unknown visitors caused pedestrian traffic to be
interrupted with several unknown visitors showing apparent fear of Smith as evident by shocked facial expressions and purposeful
                                                                                                                                    walking
well clear of Smith.

Smith's actions, inciteful statements, loud voice and disruptive activity ceased with the arrival of COPC Nurse Manager, RN Pedro Leon.
RN Leon had arrived at the lobby to asses the situation and provide medical care as needed. I attempted to inform RN Leon of Smith's
history, current actions and security concerns I had for COPC staff. That briefing was made incomplete by RN Leon leaving my brief
                                                                                                                                    to
attend to the loud and disruptive Smith. RN Leon managed to calm Smith down with promise to check Smith's blood pressure in the
COPC treatment room and not private/secluded portion of the previously planned. Upon said agreement, Smith appeared to have ceased
having chest pain and used a lower tone and respectful voice in talking with RN Leon. The complete and sudden change of Smith's
disorderly, disruptive behavior by achieving his stated goals of accessing the COPC was suggestive of manipulation of COPC staff and
false statements concerning his "chest pain".

RN Leon then accompanied Smith to the COPC treatment room where Smith received medical evaluation and departed the COPC
                                                                                                                        without
further incident.

Present at the COPC building lobby during above incident was RN Christie Loop (the VA Screener) and VA Police Officer Kebler
Velasquez.

As related to the building lobby being used by the VA for screening purposes, I had contacted the Building Manager, Mrs.
                                                                                                                         Kim McVeay.
Mrs. McVeay, representing the building owner, had authorized local law enforcement and Ito cite Smith for any criminal offenses that
occurred on building property outside the VA proper.

Based on above facts and circumstances, I found Smith had committed the crime of Disorderly Conduct as defined under 38 CFR
                                                                                                                                (Code
of Federal Regulations) 1.218(b) Rule 11. I then issued Smith United States District Court Violation 9580078(USDCVN) for
                                                                                                                         said offense
which will be sent via certified mail to Smith's address on file.

The adjudication of that offense will be documented in a supplemental report to this IR.

In addition to the above, this and similar previous incidents by Smith as noted above, will be sent to the Incident, Review and Assessment
Committee (IRAC) for administrative review. That review will also included several Disruptive Behavior Reports of Smith as submitted
                                                                                                                                       by
various COPC Employees.

This incident should be considered closed to file.




                                              Prepared By:                                                           Submitted Date
                                 CARROLL, SCOTT T(SCOTTCARROLL(VA.GOV)                                                  225 2020 1553

                            Signature                                                         Reviewed By/Date




                                                          Page 3 of 3
Case Number          Case 4:22-mj-01572
                            580201192   Document 1-1 Filed on 07/12/22 in TXSD Page 6 of 18
                                                              DEPARTMENT OF VETERANS AFFAIRS POLICE
                                                              580 MICHAEL E. DEBAKEY VAMC HOUSTON %'ISN 16
                                                                  -                                                   -                -



                                                              2002 HOLCOMBE BLVD.
                                                              HOUSTON, TX, 770304298



Incident Report
Reported by:    ARMSTRONG, JASON W

Incident Types Label      FEDERAL: CFR: 38 CFR 1.218(B): [90C]             -   (11)        Incident Disposition                            CITED AND RELEASED
                          DISORDERLY CONDUCT
Offender                  SMITH, JONATHAN WESLEY (SUSPECT)

Report Disposition                                  Method of Reporting                                           4
CLOSED                                              VA EMPLOYEE
Report Recorder                                     Manager/Supervisor On Duty                                        Manager/Supervisor Notified
                                                                                             W         .
ARMSTRONG, JASON W                                  SMTIH, NCENEO A                                                       YES
Incident Occurred Date                              Incident Occurred End Date           40 M                             Incident Discovered / Called In
12/07/2020 at 1030                                  12/07/2020 at 1130                                                    12/07/2020 at 1030
Location                                                                          Specific Location
MICHAEL E. DEBAKEY VA MEDICAL CENTER HOUSTON:        -                            CONROE CBOC 3RD FLOOR    -



CBOCS/OPCS : CONROE CBOC
Report Synopsis/Overview
VA Police were contacted due to a disorderly patient being upset because he felt he had been waiting too long. The patient began
expressing his frustration by using profanity, and refusing to cooperate with staff. The patient was later issued a USDCVN for
disorderly conduct and asked to leave the property. The patient refused and was escorted from the clinic with the assistance of Conroe
Police.

                                            Contact # 1      (VA EMPLOYEE)

Full Name
DEBBIE MASON
Age              Date of Birth                      Gender            AL              Race           __________


52               05/08/1968                         FEMALE                            WHITE
Department                                                                            Title                                qF
ADMINISTRATIVE SUPPORT                                                                MSA SUPERVISOR



Street Number          Street Direction     Street Name                                                                           Street Type           Apt./Suite
690                    SOUTH                336 WEST                                                                               LOOP
City                                        State                     Zip                              Country                                          Address Type
CONROE                                      TX                        77304                                                                                 WORK


(WORK) 9365224000



Business Name                                                     Business Number
DEPARTMENT OF VETERANS AFFAIRS                                    7137911414



                                                 Prepared By:                                                                                  Submitted Date
                                  ARMSTRONG, JASON WGASONARM STRONG @VA.GOV)                                                                     2072020 2128

                                Signature                                                                      Reviewed By/Date
                                                                                                                                           cq//f7ZoZ/

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Case Number        Case 4:22-mj-01572
                          580201192   Document 1-1 Filed on 07/12/22 I in TXSD Page 7 of 18
I,                                                                          Addresses

Street Number       Direction                Street Name                                                        Street Type           Apt/Suite
2002                                         HOLCOMBE                                                           BOULEVARD
City                                         State                      Zip Code                   Country                            Address Type
hOUSTON                                      TX                         77030                                                         WORK

                                                Contact # 3         (SUSPECT)

Full Name
JONATHAN WESLEY SMITH

Drivers License                                      Drivers LicenseState          Email Address
                                                                                   JWSMITH1981@GMAIL.
                                                                                   COM
Age                   Date of Birth                  Gender                        Race
39                    01/29/1981                     MALE                          BLACK
Height                Weight                         hair Color                    Eye Color
6'03"                 200                            BROWN                         BROWN
Approx. Age           Demeanor                       Build                         Clothing
35-44                                                MEDIUM BUILD



Street Number       Street Direction         Street Name                                                        Street Type           Apt/Suite
5934                                         BEESTON HALL                                                       COURT
City                                         State                      Zip                        Country                            Address Type
SPRING                                       TX                         77388


(N/A) 8325606552

 Narrative text
 On 07 DEC 2020, at 1030 hours, I, Officer Jason Armstrong, assigned as Unit #19, stationed at the Conroe CBOC located at 690 S Loop
 336 W, Conroe, TX 77304. I was contacted at the police office in reference to disorderly conduct.

 While observing the lobby area on the 3rd floor, I was informed by Lead MSA Debbie Mason (E-5177) that patient, Jonathan Smith
 (P-9240), was upset because he felt he had been waiting too long and began expressing his frustration by using profane language.

 Mason stated she told Smith there was no appointment in the system for him and they could work him in as a walk-in, but he would have
 to be patient while that happened. Smith had just been taken back to the exam room to have his blood pressure taken. Smith stated he
 arrived at 0845 and claimed he had a 0900 hours appointment. Smith was taken back to the exam room at 1030 hours. Smith said "this
 is fucking bullshit".

 I attempted to speak with Smith and informed him that he has to be patient and let things happen.
  Smith refused to listen and said "you don't know what the fuck you are talking about and you don't even need to be here. I haven't done
 anything wrong."

 Smith refused to cooperate and listen to reason. Conroe Police Department was contacted and Officers Troester, Badge #6168 and
 another officer responded. Troester was taking Smith's information and Smith put his hands in his pockets. Troester told Smith to
 remove his hands from his pockets. Smith refused and stated he hadn't done anything wrong. The officers moved to either side of Smith
 and immediately placed him in handcuffs. Smith yelled at the officers "this is bullshit and I haven't done anything wrong".



                                                     Prepared By:                                                         Submitted Date          I
                                ARMSTRONG, JASON W(JASON.ARMSTRONG@VA.GOV)                                                    12/0720202128       I
                                       ure                                                             Reviewed By/Date                           I


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                                                                 1-Sage 2 or i
Case Number      Case 4:22-mj-01572
                        50201192    Document 1-1 Filed on 07/12/22I in TXSD Page 8 of 18
 Smith's blood pressure was taken and he was escorted from the bldg. The handcuffs were removed from Smith by Officer Troester. No
 injuries were reported. I issued Smith a USDCVN for disorderly conduct and informed he was not to return for the remainder of the day.
 Conroe PD Officers told Smith to leave the property and do not return or he would be arrested for Criminal Trespass.

 I recommend this case be closed to file following CVB Legal proceedings.




                                              Prepared By:                                                       Submitted Date
                              ARMSTRONG, JASON W(JA SON. ARMSTRONG@VA.GOV)                                          1207 2020 2128

                            Signature                                                       Reviewed By/Date




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Case Number        Case 4:22-mj-01572
                           580201166  Document 1-1 Filed on 07/12/22 Iin TXSD Page 9 of 18
       •                                                         DEPARTMENT OF VETERANS AFFAIRS POLICE
                                                                 580 MICHAEL E. DEBAKEY VAMC HOUSTON VISN 16
                                                                     -                                       -             -


                                                                 2002 HOLCOMBE BLVD.
                                                                 HOUSTON, TX, 770304298



Incident Report
Reported by:      CARROLL, SCOTT T

Incident Types Label       INCIDENTS: NON UCR INCIDENT:                                   Incident Disposition                 CLOSED
                           INFORMATION REPORT ONLY (NON-CRIMINAL)
Offender                   SMITH, JONATHAN WESLEY (SUSPECT)

Report Disposition                                    Method of Reporting
CLOSED                                                VA EMPLOYEE
Report Recorder                                       Manager/Supervisor On Duty                             Manager/Supervisor Notified
CARROLL, SCOTT T                                      SMTIH, NGENEO A                                        YES
Incident Occurred Date                                Incident Occurred End Date                             Incident Discovered / Called In
11/25/2020   at 1310                                  11/25/2020 at 1623                                     11/25/2020 at 1310
Location                                                                         Specific Location
MICHAEL E. DEBAKEY VA MEDICAL CENTER HOUSTON:          -                         3RD FLOOR LOBBY / TELEPHONE
CBOCS/OPCS : CONROE CBOC
Report Synopsis/Overview
VA Police responded to a call for assistance involving a rude, vulgar patient. That patient had left the COPC upon the Officer's arrival.
Subsequent phone contacts by same patient, using same rude and vulgar language, to several COPC staff members led to the officer to
initiate a report for disorderly conduct, Investigation

                                               Contact # I         (SUSPECT)
Full Name
JONATHAN WESLEY SMITH

Drivers License                                     Drivers LicenseState           Email Address
                                                                                   JWSMETHI981@GMAIL.
                                                                                   COM
Age                       Date of Birth             Gender                        Race
39                        01/29/1981                MALE                          WHITE
Approx. Age               Demeanor                  Build                         Clothing
35-44                     ANGRY

                                                                           Addresses
Street Number          Street Direction     Street Name                                                              Street Type              Apt./Suite
59354                                       BEESTON HALL                                                             COURT
City                                        State                        Zip                       Country                                    Address Type
SPRING                                      TX                           77388                                                                WORK

                             Phones
(WORK) 8325606552

                                              Contact # 2          (WITNESS)



                                                    Prepared By:                                                                   Submitted Date
                                     CARROLL, SCOTT T(SCOTT.CARROLL(aVA.GOV)                                                        11/30 2020 0908

                                Signature                                                              Reviewed By/Date

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Case Number        Case 4:22-mj-01572
                           580201166  Document 1-1 Filed on 07/12/22 in TXSD Page 10 of 18
Full Name
ZULINES DEL TORO
Age                     Date of Birth                Gender                    Race
                                                     FEMALE                    HISPANIC
Department                                                                     Title
MEDICAL SERVICE                                                                REGISTERED NURSE

                                                                        Addresses
Street Number        Street Direction       Street Name                                                Street Type             Apt./Suite
690                  SOUTH                  336 WEST                                                   LOOP
City                                        State                     Zip                Country                               Address Type
CONROE                                      TX                        77304                                                    WORK

                      Phones
(WORK) 9365224000 EX 12000

                                                 Contact # 3       (WITNESS)
Full Name
CLARA BREAUX
Age                     Date of Birth               Gender                     Race
                                                    FEMALE                     WHITE
Department                                                                     Title
ADMINISTRATIVE SUPPORT                                                         MEDICAL SUPPORT ASSISTANT

                                                                        Addresses
Street Number        Street Direction       Street Name                                                Street Type            Apt/Suite
690                  SOUTH                  336 WEST                                                   LOOP
City                                        State                     Zip                Country                              Address Type
CONROE                                      TX                        77304                                                   WORK

                           Phones
(WORK) 9365224000

                                               Contact # 4         (WITNESS)
Full Name
VENESSAA KLEIN
Age                     Date of Birth               Gender                     Race
                                                    FEMALE                     WHITE
Department                                                                     Title
ADMINISTRATIVE SUPPORT                                                         MEDICAL SUPPORT ASSISTANT

                                                                        Addresses
Street Number        Street Direction       Street Name                                                Street Type            Apt/Suite
690                  SOU'II-I               336 WEST                                                   LOOP
City                                        State                    Zip                 Country                              Address Type
CONROE                                      TX                       77304                                                    WORK

                           Phones
(N/A) 9365224000


                                                    Prepared By:                                                 Submitted Date
                                    CARROLL, SCOTT T(SCOTT.CARROLL@VA.GOV)                                           1/30 2020 0908


                                Signature                                                    Reviewed By/Date




                                                               Page 2 of 4
Case Number       Case 4:22-mj-01572
                          580201166  Document 1-1 Filed on 07/12/22 in TXSD Page 11 of 18


Full Name
SYREETA STEWART
Age                    Date of Birth               Gender                     Race
                                                   FEMALE                     BLACK
Height                 Weight                      Hair Color                 Eye Color
                                                   BLACK                      BROWN
Approx. Age            Demeanor        ,           Build                      Clothing
                                                   SHORT
Department                                                                    Title
ADMINISTRATIVE SUPI'ORT                                                       MEDICAL SUPPORT ASSISTANT

                                                                         Addresses
Street Number       Street Direction       Street Name                                                 Street Type             Apt./Suite
690                 SOUTH                  336 WEST                                                    LOOP
City                                       State                      Zip                 Country                              Address Type
CONROE                                     TX                         77304                                                    WORK

                          Phones
(N/A) 9365224000

 Narrative text
On 25 November 2020, I, Veteran Affairs (VA) Police Department (VAPD) Officer Scott Carroll, assigned to the VA Conroe Out-patient
Clinic (COPC) in Conroe, Texas; was informed by COPC Registered Nurse (RN) Zulines Del Toro of a possible disruptive patient. I then
investigated that report. The results of that investigation were as follows.

 Upon arriving at RN Del Toro's work area, I was informed possible disruptive patient, Jonathan Smith (P-9240) had since departed the
COPC. RN Del Toro stated Smith had arrived at the COPC following phone call to RN Del Toro. In that phone call preceding visit, RN Del
Toro had instructed Smith, based on his reported symptoms, not to come to the COPC but rather, seek medical assistance in nearest
Emergency Room (ER). Smith was angry over that phone call, refused medical advice and hung up on RN Del Toro. That phone call was
at approximately 9:30 a.m.

 In Smith's visit to the COPC, Smith demanded laboratory studies not authorized by Smith's Physician, refused medical assessment by
RN Del Toro and left the COPC with RN Del Toro unable to provide comprehensive medical assessment. That visit to the COPC was at
approximately 10:30 am.

Smith then called the COPC and upon being transferred to RN Del Toro, used loud, vulgar language to complain about his medical care
while refusing medical care offered by RN Del Toro. Concurrent with that phone call, was similar behavior to COPC Medical Support
Assistant (MSA) Venessa Klein who initially answered Smith's call. That phone call was made by Smith at approximately 11:50 am.

See Witness Statement by RN Del Toro noting above.

 Supporting the RN Del Toro's statement was statement from MSA Klein. In MSA Klein's statement, she described Smith using loud,
vulgar language to demand to speak with Medical Doctor (MD) Rebello. In trying to assist Smith, he hung up on MSA Klein twice as MSA
Klein persisted in providing medical assistance with transferring Smith the RN Del Toro (see RN Del Toro's phone call at 11:50 a.m.).

Smith then called MSA Klein at approximately 4:23 p.m. demanding to speak with MD Rebello. MSA Klein attempted to contact MD
Rebello without success. MSA Klein then transferred Smith to her supervisor, MSA Breaux.

See Witness Statement by MSA Klein.


                                                   Prepared By:                                                 Submitted Date
                                  CARROLL, SCOTT T(SCOTT.CARROLL(aVAGOV)                                             11/30 2020 0908

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  Supporting MSA Klein's statement was statement from MSA Breaux. In MSA Breaux, statement, she received transferred call from MSA
 Klein. MSA Breaux then attempted to assist Smith in reaching MD Rebello without success as Smith was very demanding and hung up
 on MSA Breaux. Before hanging up, Smith stated to affect, "You have two options, either I speak with Doctor Rebello or I hang up and you
 deal with the consequences".

 See Witness Statement by MSA Breaux

  Supporting above statements describing Smith's behavior was that of MSA Syreeta Stewart. MSA Stewart had checked Smith into the
 COPC upon Smith's visit to RN Del Toro as noted above. In that visit, Smith was very demanding, insisted on speaking to MD Rebello and
 not accepting the need to be screened by a RN before seeing a MD. Smith had called MSA Stewart after she checked him in to complain
 of his wait. Smith then met with RN Del Toro and departed the COPC.

 See Witness Statement by MSA Stewart

  Collectively, the above witness statements describe a pattern of loud, rude and vulgar phone calls and one actual visit by Smith
 demanded specific medical care/visit with MD Rebello while refusing/interrupting medical care other assistance provided by various COPC
 Staff Members. Although Smith made no direct threats or insults to Staff Members, his behavior caused stress, frustration and concern to
 several Staff Members who feared escalation of Smith's behavior.

 Given the above facts and circumstances, I recommend Smith be referred to the Incident Review Assessment Committee (IRAC) for
screening as a disruptive patient. This administrative action was concurrent with COPC Medical Staff filing a Disruptive Behavior Report
and in finding no criminal violations to have occurred.

 This incident should be closed to file.




                                             Prepared By:                                                        Submitted Date
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